Case 1:15-cv-02225-REB-CBS Document 9 Filed 01/19/16 USDC Colorado Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge Robert E. Blackburn

 Civil Action No. 15-cv-02225-REB-BNB

 MATTHEW EBERTOWSKI,

         Plaintiff,

 v.

 SECURE ENERGY SERVICES USA, LLC,
 SECURE DRILLING, SERVICES USA, LLC, d/b/a
 MARQUIS ALLIANCE ENERGY GROUP USA, LLC.,

         Defendants.


             ORDER OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)

 Blackburn, J.

         The matter before the court is plaintiff’s Motion To Dismiss Pursuant to Fed. R.

 Civ. P. 41 [#8],1 filed January 18, 2016. Defendants have not yet answered or filed any

 potentially dispositive motions. Accordingly, under Fed. R. Civ. P. 41(a)(1), no court

 order is necessary to effectuate voluntary dismissal, which becomes effective

 immediately on filing of notice of plaintiff’s intent to dismiss. See 9 C. Wright, A. Miller,

 M. Kane, R. Marcus, and A. Steinman, Federal Practice & Procedure § 2363 (3rd ed.);

 Janssen v. Harris, 321 F.3d 998, 1000-01 (10th Cir. 2003); Bunner v. Koch, 2009 WL

 798539 at *1 (D. Colo. March 24, 2009).

         Plaintiff thus requires no affirmative relief from the court in order to effectuate

 dismissal of his claims. Although in that sense his motion is moot, I nevertheless

         1
           “[#8]” is an example of the convention I use to identify the docket number assigned to a specific
 paper by the court’s case management and electronic case filing system (CM/ECF). I use this convention
 throughout this order.
Case 1:15-cv-02225-REB-CBS Document 9 Filed 01/19/16 USDC Colorado Page 2 of 2




 construe it as a notice of plaintiff’s intent to dismiss voluntarily. As thus construed, I

 approve the notice and dismiss plaintiff’s claims without prejudice. See FED. R. CIV.

 P. 41(a)(1)(B) (unless specifically indicated by plaintiff or stipulated by all parties,

 dismissal under Rule 41 is without prejudice).

        THEREFORE, IT IS ORDERED as follows:

        1. That plaintiff’s Motion To Dismiss Pursuant to Fed. R. Civ. P. 41 [#8], filed

 January 18, 2016, construed as a notice of dismissal, is approved;

        2. That plaintiff’s claims against defendants are dismissed without prejudice;

        3. That all currently pending deadlines are vacated; and

        3. That this case is closed.

        Dated January 19, 2016, at Denver, Colorado.

                                                    BY THE COURT:




                                                2
